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                             UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF IDAHO
                                  SOUTHERN DIVISION


    UNITED STATES OF AMERICA,

                         Plaintiff,                  Case No. 1:22-cv-329-BLW

    v.                                               STIPULATION OF DISMISSAL

    THE STATE OF IDAHO,

                         Defendant.


         Pursuant to Fed R. Civ P. 41(a)(1)(A)(ii), Plaintiff the United States of America, along with

Defendant the State of Idaho and Defendant-Intervenor the Idaho Legislature,1 hereby stipulate to

the dismissal, without prejudice, of all of the United States’ claims in this action, each party to bear

their own attorney’s fees and costs. Thus, the Court’s preliminary injunction in this matter (ECF




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  The Speaker of the Idaho House of Representatives, Mike Moyle; the Idaho Senate President Pro
Tempore, Kelly Anthon; and the Sixty-Eighth Idaho Legislature (collectively, the “Idaho Legislature”),
were granted limited intervention in the matter to “present[] argument and evidence in opposition to
the United States’ motion for preliminary injunction.” Dkt. 27 at 17; see also Fed. R. Civ. P. 25(d). To
the extent required by Rule 41, the Idaho Legislature joins in this Stipulation of Dismissal.
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No. 95) is dissolved. See Fundicao Tupy S.A. v. United States, 841 F.2d 1101, 1103 (Fed. Cir. 1988) (“[A]

preliminary injunction is . . . ‘ipso facto dissolved by a dismissal of the complaint.’” (quoting 7 J.

Moore, J. Lucas, & K. Sinclair, Jr., MOORE’S FEDERAL PRACTICE ¶ 65.07 at 65-114 to 65-115

(2d ed. 1987)); see also U.S. Philips Corp. v. KBC Bank NV, 590 F.3d 1091, 1094 (9th Cir. 2010) (quoting

Fundicao Tupy S.A., 841 F.2d at 1103).

        Upon the filing of this stipulation, “voluntary dismissal is ‘self-executing . . . and no judicial

approval is required.’” Comm. Space Mgmt. Co. v. Boeing Co., 193 F.3d 1074, 1077 n.4 (9th Cir. 1999)

(quoting Marex Titanic, Inc. v. The Wrecked and Abandoned Vessel, 2 F.3d 544, 546 (4th Cir. 1993)). The

district court loses jurisdiction upon this stipulation’s filing. E.g., Black Rock City, LLC v. Pershing Cnty.

Bd. of Comm’rs, 637 F. App’x 488, 488 (9th Cir. 2016) (mem. decision) (“The district court’s jurisdiction

expired roughly six weeks earlier, on November 25, 2013, when the parties filed a stipulation for

voluntary dismissal pursuant to Federal Rule of Civil Procedure 41(a)(1).”). “[V]oluntary dismissal

under Rule 41(a)(1) automatically terminates the action without operation of a court order.” Id. (citing

Boeing, 193 F.3d at 1077).

Dated: March 5, 2025                                      Respectfully submitted,

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